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                                    SOUTHERN DISTRICT OF NEW YORK
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 GENERAL ELECTRIC COMPANY,                                                                            ----=~======
                                                               Civ. No.: l:19-cv-034 T:;:::: ... · - •.

             Plaintiff/ Counterclaim Defendant,                Judge Victor Marrero

       - against-                                              CIVIL CASE MANAGEMENT PLAN
                                                               AND SCHEDULING ORDER
 APR ENERGY PLC,

             Defendant / Counterclaim Plaintiff.



This Scheduling Order and Case Management Plan is adopted in accordance with Fed. R. Civ. P. 16-26(f).

1.      This case fi5f (is not) to be tried to a jury: [circle one]

2.      Joinder of additional parties to be accomplished by: September 17, 2019

3.      Amended pleadings may be filed without leave of the Court until: September 17, 2019

4.      Initial disclosure pursuant to Fed. R. Civ. P. 26(a)(I) to be completed by not later than: August 30,
        2019

5.      All fact discovery is to be completed by not later than: February 6, 2020

6.      The parties are to conduct discovery in accordance with the Federal Rules of Civil Procedure and the
        Local Rules of the Southern District of New York. The following interim deadlines may be extended
        by the parties on consent without application to the Court, provided the parties are certain that they
        can still meet the discovery completion date ordered by the Court.

        a.          Initial requests for production of documents to be served by: September 9, 2019

        b.          Interrogatories to be served by all party by: October 15, 2019

        c.          Depositions to be completed by: February 18, 2020. If GE's motion to transfer venue,
                    currently pending in M.D. Fla., is denied, the Parties, when practicable, will try to arrange
                    for witnesses who would be deposed in both actions to only be deposed once.

               1.          Unless the parties agree or the Court so orders, depositions are not to be held until all
                           parties have responded to initial requests for document production.

              ii.          Depositions of all parties shall proceed during the same time.



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           w.          Unless the parties agree or the Court so orders, non-party depositions shall follow
                       party depositions when possible.

      d.        Requests to Admit to be served no later than: October 15, 2019

7.    All expert discovery (ordinarily conducted following the completion of fact discovery) including
      parties' expert reports and depositions, witness lists and identification of documents pursuant to
      Fed. R. Civ. P. 26(a)(2), (3) and 35(b), is to be completed by:

      a.        Plaintiff:
                     1. Affirmative Expert Reports - February 28, 2020;
                    11. Rebuttal reports - March 30, 2020;
                   111. Expert Depositions - April 30, 2020.


      b.        Defendant:
                    1. Affirmative Expert Reports - February 28, 2020;
                   11. Rebuttal reports - March 30, 2020;
                  u1. Expert Depositions - April 30, 2020.



8.    Contemplated motions:

      a.        Plaintiff: Motion for Summary Judgement

      b.        Defendant: Motion for Summary Judgment

9.    Following all discovery, all counsel must meet for at least one hour to discuss settlement, such
      conference to be held by not later than: May 18, 2020


IO.   Do all parties consent to trial by a Magistrate Judge under 28 U.S.C. § 636(c)?

                        Yes _ _ __                    No: X




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TO BE COMPLETED BY THE COURT:

11.    The next Case Management Conference is scheduled for: February 14, 2020 at 4:30pm

        In the event the case is to proceed to trial, a firm trial date and the deadline for submission of the
Joint Pretrial Order and related documents shall be scheduled at the pretrial conference following either
the completion of all discovery or the Court's ruling on any dispositive motion.

        The Joint Pretrial Order should be prepared in accordance with Judge Marrero's Individual
Practices. If this action is to be tried before a jury, proposed voir dire and jury instructions shall be filed
with the Joint Pretrial Order. No motion for summary judgment shall be served after the deadline fixed
for the Joint Pretrial Order.


SO ORDERED:

DATED:




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